1    John W. O'Leary, WSBA #33004
     Gravis Law, PLLC
2    601 W. Kennewick Avenue
     Kennewick, WA 99336
3    (509) 588-0431 / Fax (866) 419-9269
     JOLeary@gravislaw.com
4

5
                                 UNITED STATES BANKRUPTCY COURT
6
                                   EASTERN DISTRICT OF WASHINGTON
7
                                              )
8    In Re:                                   ) Lead Case No. 19-00473-FPC11
                                              ) Jointly Administered
9    R&R TRUCKING, INC., and RICARDO          )
     CANTU AND ROSA CANTU,                    ) REPORT OF BALLOTING
10                                            )
               Debtors/Debtors in Possession. )
11                                            )
12            I certify that the following is a tabulation of the balloting on the Second Amended Plan
13   filed by John W. O’Leary, WSBA #33004, on December 14, 2020.
14    Class       Total Voting         Acceptances          Accept %        Rejections           Reject %
15
        2             $11,201.19            $11,201.19          100%                  $0.00             0%
16                      #1                    #1                100%             #0                     0%

17      3          $1,309,492.45         $1,309,492.45          100%                  $0.00             0%
                        #1                    #1                100%             #0                     0%
18
        5           $296,750.11                     $0.00         0%          $296,750.11             100%
19                     #1                      #0                 0%            #1                    100%

20      8              $7,744.39             $7,744.39          100%                  $0.00             0%
                        #1                    #1                100%             #0                     0%
21
              Comments: None.
22
              DATED this 4th day of February 2021.
23
                                                    GRAVIS LAW, PLLC
24                                                  Attorneys for Debtor

25
                                                    BY:     /s/ John W. O'Leary
26                                                        JOHN W. O'LEARY, WSBA #33004

27
     REPORT OF BALLOTING - 1                                                            GRAVIS LAW, PLLC
28                                                                           601 W. KENNEWICK AVENUE
                                                                                  KENNEWICK, WA 99336
                                                                           (509) 588-0431 / Fax (866) 419-9269

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